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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 PEPSICO, INC., a North Carolina corporation,     CIVIL ACTION NO.
 and THE CONCENTRATE
 MANUFACTURING COMPANY OF
 IRELAND, a corporation governed by the laws     COMPLAINT FOR:
 of the Republic of Ireland,
                    Plaintiffs,                  (1) VIOLATION OF SECTION 32 OF
                                                      THE LANHAM ACT;
         vs.                                     (2) VIOLATION OF SECTION 43(a)
                                                      OF THE LANHAM ACT;
 R. R. IMPORTACIONES, INC., a New Jersey         (3) VIOLATION OF NEW JERSEY
 corporation, JAMES MARTINEZ, an                      STAT. § 56:4-1;
 individual, and JOHN DOES 1-10,                 (4) UNFAIR COMPETITION IN
                                                      VIOLATION OF NEW JERSEY
                           Defendants.                COMMON LAW;
                                                 (5) TRADEMARK INFRINGEMENT
                                                      IN VIOLATION OF NEW
                                                      JERSEY COMMON LAW;
                                                 (6) VIOLATION OF SECTION 43(c)
                                                      OF THE LANHAM ACT; and
                                                 (7) VIOLATION OF NEW JERSEY
                                                      STAT. § 56:3-13.20.



       Plaintiffs, PepsiCo, Inc., and the Concentrate Manufacturing Company of Ireland, by way

of Complaint against Defendants R. R. Importaciones, Inc., James Martinez, and John Does

1-10, allege as follows:
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                                           PARTIES

       1.     Plaintiff, PepsiCo, Inc. (“PepsiCo”), is a North Carolina corporation with its

principal place of business at 700 Anderson Hill Road, Purchase, New York 10577.

       2.     Plaintiff, The Concentrate Manufacturing Company of Ireland (“CMCI”), is a

corporation governed by the laws of the Republic of Ireland with its principal place of business

at Corner House, Fourth Floor, 20 Parliament Street, Hamilton, HM HX, Bermuda, and is a

wholly-owned subsidiary of PepsiCo.

       3.     On information and belief, Defendant R.R. Importaciones, Inc. (“RR

Importaciones”) is a corporation governed by the laws of the State of New Jersey with its

principal place of business at 141-143 3rd Street, Passaic, New Jersey 07055.

       4.     On information and belief, Defendant James Martinez is an individual residing at

62 1st Street, Passaic, New Jersey 07055, and controls and directs the actions of

RR Importaciones as president of the same.

       5.     On information and belief, John Does 1-10 (collectively, the “Doe Defendants”)

are individuals and business entities who have participated or assisted in the conduct alleged

herein or are otherwise responsible therefor. The identity of these Doe Defendants presently is

not and cannot be known to Plaintiffs, but these persons and/or entities will be added as named

defendants to this action as and when they are identified.          Unless otherwise indicated,

RR Importaciones, James Martinez, and the Doe Defendants are referenced collectively herein

as “Defendants.”

                               JURISDICTION AND VENUE

       6.     This Court has jurisdiction by virtue of the fact that: (1) this is an action arising

under the Trademark Act of 1946, as amended, 15 U.S.C. §§ 1051, et seq. (the Lanham Act),




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jurisdiction being conferred in accordance with 15 U.S.C. § 1121 and 28 U.S.C. § 1338(a) and

(b); and (2) this is a civil action between citizens of different states in which the value of the

amount in controversy exceeds seventy-five thousand dollars ($75,000.00), exclusive of interest

and costs, jurisdiction being conferred in accordance with 28 U.S.C. § 1332. Jurisdiction for the

claims made under New Jersey state law is conferred in accordance with the principles of

supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).

          7.    Venue is proper in this Court under 28 U.S.C. § 1391(b) in that, on information

and belief, a substantial part of the events or omissions giving rise to the claim occurred in this

district, or under 28 U.S.C. § 1391(c) in that, on information and belief, Defendants are deemed

to reside in this District because they are subject to personal jurisdiction in this District.

                                               FACTS

          8.    PepsiCo manufactures, markets and distributes soft drinks throughout the United

States.

                                 THE FAMOUS PEPSI MARKS

          9.    Since long prior to the acts of Defendants complained of herein, PepsiCo has

made continuous use of the trademarks PEPSI, PEPSI-COLA, a distinctive red, white and blue

logo, and combinations of variations on this logo with PEPSI and PEPSI-COLA (the “PEPSI

marks”) in connection with the sale and advertising of cola flavored soft drinks (the “PEPSI

products”).

          10.   PepsiCo owns, among many others, the following federal trademark registrations

issued by the United States Patent and Trademark Office for the PEPSI marks used in connection

with its PEPSI products:




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         MARK              REG. NO.         REG. DATE                         GOODS
 PEPSI                     824,150        February 14, 1967      Soft drinks and syrups and
                                                                 concentrates for the preparation
                                                                 thereof.
 PEPSI-COLA                824,151        February 14, 1967      Soft drinks and syrups and
                                                                 concentrates for the preparation
                                                                 thereof.
 Design mark               824,153        February 14, 1967      Soft Drinks.

 PEPSI and Design          2,100,417      September 23,          Soft Drinks.
                                          1997
 PEPSI and Design          2,104,304      October 7, 1997        Soft Drinks.


These registrations are valid, subsisting and incontestable, and constitute conclusive evidence of

PepsiCo’s exclusive right to use the PEPSI marks for the goods specified in the registrations.

15 U.S.C. §§ 1065, 1115(b).

        11.    PepsiCo and its authorized bottlers have sold billions of dollars worth of PEPSI

products under the PEPSI marks throughout the United States and have spent hundreds of

millions of dollars to advertise and to promote the PEPSI products under the PEPSI marks.

        12.    PepsiCo’s extensive sales, promotion and advertising have caused the PEPSI

marks to become exceedingly famous.

        13.    The PEPSI marks possess an extraordinarily valuable goodwill that PepsiCo

owns.

        14.    PEPSI products are bottled and distributed in the United States by PepsiCo or

PepsiCo’s authorized bottlers pursuant to Exclusive Bottling Appointment agreements. The

Exclusive Bottling Appointment agreements authorize those bottlers, and no one else, to bottle

and distribute PEPSI products in their respective territories.




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                              THE MANZANITA SOL MARKS

       15.     Since long before the acts of Defendants complained of herein, CMCI has made

continuous use of the trademarks MANZANITA SOL and MANZANITA SOL and Design

(collectively, the “MANZANITA SOL marks”) in connection with the sale and advertising of

soft drinks (collectively, the “MANZANITA SOL products”).

       16.     CMCI owns, inter alia, the following federal trademark registrations issued by the

United States Patent and Trademark Office for the MANZANITA SOL marks used in

connection with the MANZANITA SOL products:

          MARK              REG. NO.          REG. DATE                      GOODS

   MANZANITA SOL           3,156,112       October 17, 2006      Soft drinks, and syrups and
                                                                 concentrates for making the
                                                                 same.

   MANZANITA SOL           3,167,654       November 7, 2006      Soft drinks, and syrups and
   and Design                                                    concentrates for making the
                                                                 same.


Said registrations are valid and subsisting, and constitute prima facie evidence of the validity of

the MANZANITA SOL marks and of CMCI’s ownership of and exclusive right to use these

marks for the goods listed therein. 15 U.S.C § 1057(b).

       17.     CMCI has sold millions of dollars worth of MANZANITA SOL products under

the MANZANITA SOL marks throughout the United States and has dedicated substantial

amounts of money and other resources to advertise and promote the MANZANITA SOL

products under the MANZANITA SOL marks.

       18.     CMCI’s sales, promotion, and advertising have caused the MANZANITA SOL

marks to become well-known among consumers.

       19.     The MANZANITA SOL marks represent valuable goodwill that CMCI owns.


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       20.     CMCI is a wholly-owned subsidiary of PepsiCo, and the MANZANITA SOL

products are bottled and distributed in the United States by PepsiCo or PepsiCo’s authorized

bottlers pursuant to Exclusive Bottling Appointment agreements.            The Exclusive Bottling

Appointment agreements authorize those bottlers, and no one else, to bottle and distribute

MANZANITA SOL products in their respective territories.

                                   DEFENDANTS’ ACTIONS

       21.     Defendants have sold soft drinks manufactured in Mexico and meant for sale in

Mexico bearing the PEPSI marks and the MANZANITA SOL marks (“Mexican product”) in the

United States and in the State of New Jersey, including in this judicial District.

       22.     The Mexican product is subject to bottling agreements that restrict sales of the

Mexican product to Mexico.

       23.     The Mexican product is neither authorized nor intended for exportation out of

Mexico or for importation into, or sale or distribution in, the United States.

       24.     The Mexican product that Defendants sell within the United States is materially

different in many respects from the authorized PEPSI products and MANZANITA SOL products

authorized for sale in the United States. These material differences include:

               (a)     the Mexican product does not comply with the United States Food and

                       Drug Administration’s labeling regulations;

               (b)     the Mexican product does not comply with the labeling standards followed

                       by Plaintiffs and their authorized bottlers in the United States;

               (c)     the sale of Mexican product in channels of trade different from Plaintiffs’

                       authorized distribution channels stifles Plaintiffs’ ability to properly and

                       sufficiently exercise quality control over the Mexican product by, but not




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                 limited to: (i) preventing Plaintiffs from placing “drink by” notice dates on

                 the Mexican product; (ii) making monitoring the Mexican product for

                 proper shipment and storage conditions impossible; (iii) precluding

                 Plaintiffs’ proper arrangement of retail Mexican product displays; and (iv)

                 preventing Plaintiffs from rotating stale, damaged or substandard quality

                 Mexican product off retail shelves;

           (d)   the Mexican product sold by Defendants does not inform purchasers of or

                 allow purchasers to participate in promotions Plaintiffs authorize based on

                 the purchase of specially-marked PEPSI products and MANZANITA SOL

                 products authorized for sale in the United States;

           (e)   there is a risk of leakage, loss of carbonation and general deterioration to

                 the Mexican product due to the hazards and delay inherent in shipping the

                 product outside its designated area of sale;

           (f)   the bottles containing the Mexican product sold by Defendants are of a

                 type not available for sale in the United States;

           (g)   the cans and bottles containing the Mexican product bear writing in

                 Spanish;

           (h)   Defendants’ marketing of the Mexican product in the United States

                 conflicts with the advertising strategies and marketing plans of Plaintiffs

                 and their authorized bottlers;

           (i)   Defendants’ marketing of the Mexican product conflicts with Plaintiffs

                 and their authorized bottlers’ bottle return policies; and




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               (j)     some of the Mexican product bears registered trademark notices, but does

                       not bear a statutory notice of a United States trademark registration and

                       might be interpreted as limiting Plaintiffs’ right to obtain relief in

                       accordance with Section 29 of the Lanham Act, 15 U.S.C. § 1111.

        25.    Plaintiffs objected to Defendants’ sales of the Mexican product in writing prior to

filing suit.

        26.    Defendants did not agree to settle this dispute or identify their sources for the

Mexican product, thereby necessitating this suit.

        27.    Plaintiffs have not authorized or consented to Defendants’ sale of Mexican

product within the United States.

                                 FIRST CLAIM FOR RELIEF
                     (TRADEMARK INFRINGEMENT IN VIOLATION OF
                            SECTION 32 OF THE LANHAM ACT)

        28.    Plaintiffs re-allege paragraphs 1 through 27, as if fully set forth herein.

        29.    Defendants’ acts have caused or are likely to cause confusion, mistake or

deception as to the source of origin, sponsorship or approval of Defendants’ Mexican product in

that purchasers and others in this District and elsewhere in the United States are likely to believe

Plaintiffs authorize and control the sale of Defendants’ Mexican product in the United States or

that Defendants are associated with or related to Plaintiffs.

        30.    On information and belief, Defendants’ acts have injured or are likely to injure

Plaintiffs’ image and reputation with consumers in this District and elsewhere in the United

States by creating confusion about, and dissatisfaction with, Plaintiffs’ PEPSI products and

MANZANITA SOL products.




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        31.     On information and belief, Defendants’ acts have injured or are likely to injure

Plaintiffs’ business reputations and relations with retail accounts in this District and elsewhere in

the United States by causing customer dissatisfaction, a diminution of the value of the goodwill

associated with the PEPSI and MANZANITA SOL marks, and a loss of sales and market share

to Plaintiffs’ competition.

        32.     Defendants’ sale of Mexican product in this District and elsewhere in the United

States is a deliberate, intentional and willful attempt to injure Plaintiffs’ business, to trade on

Plaintiffs’ business reputation, to confuse or deceive purchasers and to interfere with Plaintiffs’

business relationships with its retail accounts in this District and elsewhere in the United States.

        33.     Defendants’ acts constitute an infringement of Plaintiffs’ trademark rights in

violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

        34.     Defendants’ acts greatly and irreparably damage Plaintiffs and will continue to so

damage Plaintiffs unless restrained by this Court; wherefore, Plaintiffs are without an adequate

remedy at law. Accordingly, Plaintiffs are entitled to, among other things, an order enjoining

and restraining Defendants from selling Mexican product.

                                 SECOND CLAIM FOR RELIEF
                        (UNFAIR COMPETITION IN VIOLATION OF
                           SECTION 43(A) OF THE LANHAM ACT)

        35.     Plaintiffs re-allege paragraphs 1 through 9, 11 through 15, 17 through 27 and 29

through 32, as if fully set forth herein.

        36.     Defendants’ acts constitute unfair competition with Plaintiffs in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

        37.     Defendants’ acts greatly and irreparably damage Plaintiffs and will continue to so

damage Plaintiffs unless restrained by this Court; wherefore, Plaintiffs are without an adequate


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remedy at law. Accordingly, Plaintiffs are entitled to, among other things, an order enjoining

and restraining Defendants from selling the Mexican product.

                                  THIRD CLAIM FOR RELIEF
                        (UNFAIR COMPETITION IN VIOLATION OF
                                  NEW JERSEY STAT. § 56:4-1)

          38.   Plaintiffs re-allege paragraphs 1 through 9, 11 through 15, 17 through 27 and 29

through 32, as if fully set forth herein.

          39.   Defendants’ acts constitute unfair competition in violation of New Jersey Stat. §

56:4-1.

          40.   Defendants’ acts greatly and irreparably damage Plaintiffs and will continue to so

damage Plaintiffs unless restrained by this Court; wherefore, Plaintiffs are without an adequate

remedy at law. Accordingly, Plaintiffs are entitled to, among other things, an order enjoining

and restraining Defendants from selling the Mexican product.

                                 FOURTH CLAIM FOR RELIEF
                          (UNFAIR COMPETITION IN VIOLATION
                              OF NEW JERSEY COMMON LAW)

          41.   Plaintiffs re-allege paragraphs 1 through 9, 11 through 15, 17 through 27 and 29

through 32, as if fully set forth herein.

          42.   Defendants’ aforesaid acts constitute unfair competition in violation of the

common law of New Jersey.

          43.   Defendants’ acts greatly and irreparably damage Plaintiffs and will continue to so

damage Plaintiffs unless restrained by this Court; wherefore, Plaintiffs are without an adequate

remedy at law. Accordingly, Plaintiffs are entitled to, among other things, an order enjoining

and restraining Defendants from selling the Mexican product.



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                                  FIFTH CLAIM FOR RELIEF
                      (TRADEMARK INFRINGEMENT IN VIOLATION
                              OF NEW JERSEY COMMON LAW)

        44.     Plaintiffs re-allege paragraphs 1 through 9, 11 through 15, 17 through 27 and 29

through 32, as if fully set forth herein.

        45.     Defendants’ aforesaid acts constitute trademark infringement in violation of the

common law of New Jersey.

        46.     Defendants’ acts greatly and irreparably damage Plaintiffs and will continue to so

damage Plaintiffs unless restrained by this Court; wherefore, Plaintiffs are without an adequate

remedy at law. Accordingly, Plaintiffs are entitled to, among other things, an order enjoining

and restraining Defendants from selling the Mexican product.

                                  SIXTH CLAIM FOR RELIEF
                                (DILUTION IN VIOLATION OF
                             SECTION 43(c) OF THE LANHAM ACT)

        47.     PepsiCo re-alleges paragraphs 1 through 14, 21 through 27 and 29 through 32, as

if fully set forth herein.

        48.     PepsiCo’s PEPSI marks are famous and are widely recognized by the general

consuming public of the United States as a designation of source of PepsiCo’s goods, including

the PEPSI products.

        49.     Defendants’ acts are likely to harm PepsiCo’s valuable business reputation and

goodwill and are likely to impair the distinctiveness of the famous PEPSI marks.

        50.     Defendants’ acts are likely to cause dilution by blurring of PepsiCo’s famous

PEPSI marks in violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).




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        51.     Defendants’ acts are likely to cause dilution by tarnishment of PepsiCo’s famous

PEPSI marks in violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

        52.     On information and belief, Defendants’ acts of dilution are intentional and willful.

        53.     Defendants’ acts greatly and irreparably damage PepsiCo and will continue to so

damage PepsiCo unless restrained by this Court; wherefore, PepsiCo is without an adequate

remedy at law. Accordingly, PepsiCo is entitled to, among other things, an order enjoining and

restraining Defendants from selling the Mexican product.

                               SEVENTH CLAIM FOR RELIEF
                               (DILUTION IN VIOLATION OF
                              NEW JERSEY STAT. § 56:3-13.20)

        54.     PepsiCo re-alleges paragraphs 1 through 14, 21 through 27 and 29 through 32, as

if fully set forth herein.

        55.     Defendants’ acts are likely to damage the business reputation of PepsiCo in

violation of New Jersey Stat. § 56:3-13.20.

        56.     Defendants’ acts greatly and irreparably damage PepsiCo and will continue to so

damage PepsiCo unless restrained by this Court; wherefore, PepsiCo is without an adequate

remedy at law. Accordingly, PepsiCo is entitled to, among other things, an order enjoining and

restraining Defendants from selling Mexican product.

        WHEREFORE, Plaintiffs pray that:

        1.      Defendants, their officers, agents, servants, employees, and attorneys, their

successors and assigns and all others in active concert or participation with Defendants, be

enjoined and restrained during the pendency of this action, and permanently thereafter, from the

importation into, and the dealing, marketing, sale or distribution in the United States of soft




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drinks manufactured or bottled in Mexico and meant for sale in Mexico, or any other foreign

country, bearing the PEPSI marks or the MANZANITA SOL marks.

        2.      Defendants, and all others holding by, through or under Defendants, be required,

jointly and severally, to:

                a.      account for and pay over to Plaintiffs all profits derived by Defendants

                        from its acts of trademark infringement and unfair competition in

                        accordance with 15 U.S.C. § 1117(a) and New Jersey common law, and

                        Plaintiffs ask that this profits award be trebled in accordance with 15

                        U.S.C. § 1117(a) and New Jersey Stat. § 56:4-2;

                b.      pay to Plaintiffs treble the amount of all damages incurred by Plaintiffs by

                        reason of Defendants’ acts of trademark infringement and unfair

                        competition in accordance with 15 U.S.C. § 1117(a) and New Jersey Stat.

                        § 56:4-2;

                c.      pay to Plaintiffs the costs of this action, together with reasonable

                        attorneys’ fees and disbursements, in accordance with 15 U.S.C. §

                        1117(a);

                d.      pay restitution to Plaintiffs, in accordance with the common law of the

                        State of New Jersey, for all loss, damage and injury caused by Defendants’

                        acts;

                e.      deliver up for destruction all of the Mexican product in their possession, in

                        accordance with 15 U.S.C. § 1118;

                f.      send a notice to any existing wholesale customers that the importation,

                        dealing in, sale or distribution of the Mexican product in the United States




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                   without Plaintiffs’ consent is unlawful and that they have been enjoined by

                   a United States District Court from doing so; and

            g.     file with the Court and serve on PepsiCo an affidavit setting forth in detail

                   the manner and form in which they have complied with the terms of the

                   injunction, in accordance with 15 U.S.C. § 1116.

      3.    Plaintiffs have such other and further relief as the Court deems just and equitable.

      Dated: April 21, 2011                 Respectfully submitted,

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